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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW MEXICO


JAMES KITCHING,

              Plaintiff,

v.                                                               No. 2:21-cv-00203-KWR-KRS

DEPUTY WILLIAM GARZA and
DEPUTY DANIEL EDWARDS,
Otero County Deputy Sheriffs,

              Defendants.

              STIPULATED ORDER DISMISSING CLAIMS AGAINST
           DEPUTY WILLIAM GARZA AND DEPUTY DANIEL EDWARDS

       THIS MATTER came before this Court on Plaintiff’s Unopposed Motion to Dismiss

Claims Against Deputy William Garza and Deputy Daniel Edwards (Doc. 32). This Court

reviewed the Motion and considered that all parties to this litigation do not oppose the Motion.

Accordingly, the Court finds that Plaintiff’s Unopposed Motion to Dismiss Claims Against

Deputy William Garza and Deputy Daniel Edwards is WELL-TAKEN and should be

GRANTED.

       IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that all claims raised

by Plaintiff against Defendants, Deputy William Garza and Deputy Daniel Edwards are hereby

DISMISSED WITH PREJUDICE.

       IT IS SO ORDERED.


                                                  ________________________________________
                                                  KEA W. RIGGS
                                                  UNITED STATES DISTRICT JUDGE
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SUBMITTED BY:

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